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1    DANIEL J. BRODERICK, Bar #89424
     Federal Defender
2    MATTHEW C. BOCKMON, Bar #161566
     Assistant Federal Defender
3    Designated Counsel for Service
     801 I Street, 3rd Floor
4    Sacramento, California 95814
     Telephone: (916) 498-5700
5
     Attorney for Defendant
6    MARK ANTHONY HIRSCHFIELD
7
8                       IN THE UNITED STATES DISTRICT COURT
9                     FOR THE EASTERN DISTRICT OF CALIFORNIA
10
11   UNITED STATES OF AMERICA,          )   NO. CR-S-06-325 GEB
                                        )
12                  Plaintiff,          )   STIPULATION AND [PROPOSED] ORDER
                                        )   CONTINUING STATUS CONFERENCE
13        v.                            )
                                        )
14   FERNANDO ISIDRO MALONEY,           )   Date: December 15, 2006
     MARK ANTHONY HIRSCHFIELD, and      )   Time: 9:00 a.m.
15   STEVEN RICHARD STEELE,             )   Judge: Garland E. Burrell, Jr.
                                        )
16                  Defendants.         )
17   _______________________________
18        IT IS HEREBY STIPULATED between the parties, Jason Hitt, Assistant
19   United States Attorney, attorney for plaintiff; Linda C. Harter, Chief
20   Assistant Federal Defender on behalf of Matthew C. Bockmon, attorney
21   for defendant MARK ANTHONY HIRSCHFIELD; and Dwight M. Samuel, attorney
22   for defendant STEVEN RICHARD STEELE, that the Status Conference set for
23   November 17, 2006, be vacated and that a Status Conference hearing date
24   of December 15, 2006 at 9:00 a.m. be set.
25        This continuance is being requested due to the need for on-going
26   defense investigation and preparation and to give defense counsel more
27   time to receive and review newly produced discovery and a possible plea
28   offer with defendants.
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1          IT IS FURTHER STIPULATED that the period from November 17, 2006
2    through and including December 15, 2006, should be excluded in
3    computing the time within which trial must commence under the Speedy
4    Trial Act, pursuant to 18 U.S.C. § 3161(h)(8)(B)(iv) and Local Code T4
5    for continuity and preparation of counsel.
6    Dated: November 15, 2006
                                               Respectfully submitted,
7
                                               DANIEL J. BRODERICK
8                                              Federal Defender
9                                              /s/ Linda C. Harter
                                               (for Matthew C. Bockmon)
10                                             ________________________________
                                               LINDA C. HARTER
11                                             Chief Assistant Federal Defender
                                               Attorney for Defendant
12                                             MARK ANTHONY HIRSCHFIELD
13                                             /s/ Linda C. Harter
                                               (for Matthew C. Bockmon)
14                                             _________________________________
                                               DWIGHT M. SAMUEL
15                                             Attorney for Defendant
                                               STEVEN RICHARD STEELE
16
     Dated: November 15, 2006
17
                                               MCGREGOR W. SCOTT
18                                             United States Attorney
19                                             /s/ Linda C. Harter
                                               (for Matthew C. Bockmon)
20                                             _________________________________
                                               JASON HITT
21                                             Assistant U.S. Attorney
                                               per telephonic authority
22
                                          O R D E R
23
     IT IS SO ORDERED.
24
25   Dated:    November 16, 2006

26
27                                       GARLAND E. BURRELL, JR.
                                         United States District Judge
28


     Stip & Order                              2
